USCA4 Appeal: 24-1447    Doc: 1     Filed: 05/16/2024 Pg: 1 of 2
              Case 8:22-cv-02597-DKC Document 74 Filed 05/16/24              Page 1 of 2

                                                                       FILED: May 16, 2024

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                       ___________________

                                             No. 24-1447
                                        (8:22-cv-02597-DKC)
                                       ___________________

        MARYLAND CHAPTER OF THE SIERRA CLUB, part of Sierra Club, Inc.;
        NATIONAL TRUST FOR HISTORIC PRESERVATION IN THE UNITED
        STATES; NATURAL RESOURCES DEFENSE COUNCIL, INCORPORATED

                     Plaintiffs - Appellants

         and

        FRIENDS OF MOSES HALL; NORTHERN VIRGINIA CITIZENS
        ASSOCIATION

                     Plaintiffs

        v.

        FEDERAL HIGHWAY ADMINSTRATION; STEPHANIE POLLACK, in her
        capacity as Acting Administrator of the Federal Highway Administration;
        GREGORY MURRILL, in his official capacity as Maryland Division
        Administrator of the Federal Highway Administration; MARYLAND
        DEPARTMENT OF TRANSPORTATION; JAMES F. PORTS, JR., in his
        official capacity as Secretary of the Maryland Department of Transportation

                     Defendants - Appellees


        This case has been opened on appeal.

        Originating Court         United States District Court for the District of
                                  Maryland at Greenbelt
USCA4 Appeal: 24-1447    Doc: 1     Filed: 05/16/2024 Pg: 2 of 2
              Case 8:22-cv-02597-DKC Document 74 Filed 05/16/24        Page 2 of 2


        Originating Case        8:22-cv-02597-DKC
        Number
        Date notice of appeal   05/14/2024
        filed in originating
        court:
        Appellant(s)            Maryland Chapter of the Sierra Club, National Trust
                                for Historic Preservation in the United States, and
                                Natural Resources Defense Council, Inc.
        Appellate Case          24-1447
        Number
        Case Manager            Rachel Phillips
                                804-916-2702
